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Attorneys for Plaintiff
JUUL LABS, INC.


                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


JUUL LABS, INC.,

                          Plaintiff,


v.                                                   Civil Action No. _____________

                                                     Hon.
EONSMOKE, LLC;
ZLAB S.A.;                                           VERIFIED COMPLAINT
ZIIP LAB CO., LTD.;                                  (JURY DEMAND)
SHENZHEN YIBO TECHNOLOGY CO.,
LTD.; and
JOHN DOES 1 – 50,

                          Defendants.
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       Plaintiff Juul Labs, Inc. (“Juul Labs”), by its attorneys, for its complaint against

Eonsmoke, LLC, with offices in Clifton, New Jersey, ZLab, S.A., with offices in Uruguay, Ziip

Lab Co., Ltd, with offices in China, Shenzhen Yibo Technology Co., Ltd., with offices in China,

and John Does 1 – 50 (collectively, “Defendants”), alleges as follows:

                                       INTRODUCTION

       1.      Juul Labs’ vaporizer products disrupted the traditional cigarette market in the

United States and have given adult smokers a true alternative. This disruption did not occur by

happenstance. Juul Labs has invested millions of dollars to design, produce, and bring to market

the innovative and celebrated Juul-brand products, which consist of the Juul Device and the

replaceable JUULPods that work with it. Together, the products work as an electronic nicotine

delivery system (commonly called a vaporizer or e-cigarette) and, consistent with the company’s

mission, are intended to help adult smokers transition away from traditional combustible

cigarettes. Both are protected by Juul Labs’ design patents, which Juul Labs has never

authorized another party to use.

       2.      Juul Labs has never intended for underage users to buy or use its products.

Instead, Juul Labs has been in constant contact with the U.S. Food and Drug Administration

(“FDA”) and working with it to fulfill Juul Labs’ mission, including limiting underage use of

nicotine vaporizers. Last fall, when the FDA publicly highlighted new concerns about youth use

of e-cigarette products in the United States, Juul Labs expanded its existing Youth Action Plan to

take additional steps to even more aggressively combat underage use of its products. In line with

that, in November 2018, Juul Labs changed how it was selling its JUULPods so that only

tobacco- and menthol-based (mint and menthol) flavors would be distributed to retail stores.

       3.      After Juul Labs pulled some of its flavor offerings from retail shelves, Defendants

began purposefully re-filling that same shelf space in retail outlets, such as convenience and


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vape stores, with millions of illegal e-cigarette cartridges that have intentionally kid-friendly

flavor names and packaging like Sour Gummy, Peach Madness, and Silky Strawberry.

Defendants also sell their cartridges online with virtually no age-verification requirements at all

beyond requiring a purchaser to click a button and attest that he or she is over 18 years old,

regardless of whether or not the purchaser is in a jurisdiction that restricts sales of tobacco

products to ages 21 and up. And Defendants have done this while being fully aware of Juul

Labs’ investments and designs, as well as Juul Labs’ efforts to restrict youth access to nicotine

products. Indeed, Defendants initiated email campaigns offering big price cuts just after Juul

Labs announced its voluntary actions, and increased their marketing efforts to highlight how

Defendants’ products are designed as cheaper “Juul compatible” pods that can replace legitimate

JUULPods in the Juul Device. None of Defendants’ products are authorized by Juul Labs. And

none of them are approved by the FDA for sale either; instead, the Defendants are forbidden by

FDA regulations from selling any new products without first obtaining FDA premarket approval.

       4.      None of this has deterred Defendants at all. Their products have instead

proliferated, incenting other compatibles makers to enter the market and collectively overtake the

number of legitimate JUULPods offered in many retail stores. Defendants have done this as they

skirt regulatory requirements while taking advantage of the opportunity left by Juul Labs’

voluntary decision to pull certain flavors from retail stores in response to FDA concerns.

       5.      Defendants’ illegal conduct threatens immediate harm to the health of consumers

in New Jersey and elsewhere, particularly youth. And Defendants are doing this by blatantly

stealing Juul Labs’ patented designs, free riding on its goodwill and reputation, and sowing

misperceptions about it in the public. As a result, Juul Labs is being harmed as people

mistakenly attribute Defendants’ unlawful misconduct with Juul Labs. For the reasons described




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below, emergency relief is needed to preliminarily and permanently enjoin Defendants’ ongoing

misconduct.

                                            PARTIES

          6.    Juul Labs is a corporation organized in the State of Delaware, with its principal

place of business at 560 20th Street, San Francisco, California 94107. Juul Labs was originally

called Ploom and then Pax Labs. In 2017, Juul Labs and Pax Labs, Inc. became separate

companies.

          7.    On information and belief, Eonsmoke LLC (“Eonsmoke”) is a New Jersey limited

liability company with its principal place of business at 1500 Main Ave., 2nd Floor, Clifton,

New Jersey 07011.

          8.    On information and belief, ZLab S.A. (“ZLab”) is an Uruguayan corporation with

its principal place of business at Ave. Golero, 911 Office 27, Punta Del Este, Maldonado,

Uruguay, 20100.

          9.    On information and belief, Ziip Lab Co., Ltd. (“Ziip Lab”) is a Chinese company

with its principal place of business at E District 4F, 5 Building, Wen Ge Industrial Zone,

Heshuikou, Gongming St., Guangming New District, Shenzhen City, Guangdong Province,

China 518106.

          10.   On information and belief, Shenzhen Yibo Technology Co., Ltd. (“Yibo”) is a

Chinese company with its principal place of business at E District 4F, 5 Building, Wen Ge

Industrial Zone, Heshuikou, Gongming St., Guangming New District, Shenzhen City,

Guangdong Province, China 518106.

          11.   ZLab, Ziip Lab, and Yibo are referred to collectively throughout the Complaint as

“Ziip”.




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       12.     On information and belief, Defendants John Does 1-50 are the presently unknown

other companies and individuals involved in the knowing and unlawful design, development,

manufacture, importation, promotion, distribution, and/or sale of the infringing products.

                                 JURISDICTION AND VENUE

       13.     This action arises under the patent laws of the United States, 35 U.S.C. § 100 et

seq., and this Court has original subject matter jurisdiction over the subject matter of this action

under 28 U.S.C. §§ 1331 and 1338(a). This Court also has diversity jurisdiction under 28 U.S.C.

§ 1332 and supplemental jurisdiction over the state law claims under 28 U.S.C. § 1367(a).

       14.     Juul Labs’ claims against Defendants are based on: (i) Defendants’ infringement

of Juul Labs’ design patents; (ii) Defendants’ unfair competition with illegal and unapproved

products; (iii) Defendants’ promotion and sale of such products to consumers in this District; and

(iv) Defendants’ use of instrumentalities in this District to promote and sell the products.

       15.     Venue is proper under 28 U.S.C. §§ 1391 and 1400(b) because Eonsmoke has a

regular and established place of business in this Judicial District and because ZLab, Ziip Lab,

and Yibo are alien defendants and have committed acts of infringement in this Judicial District.

       16.     This Court has personal jurisdiction over Defendants because they directly target

business activities toward consumers in the United States, including the State of New Jersey,

through their known distribution and sale of e-cigarette products through at least the Eonsmoke

website located at www.eonsmoke.com, the Ziip website located at www.ziiplab.com, and

numerous physical retail stores located in New Jersey. Specifically, upon information and belief,

all of the known Defendants are located in this District, and Defendants’ infringing activities are

targeted to and sales are made to residents of New Jersey. Defendants are committing tortious

acts, engaging in interstate commerce, and have wrongfully caused Juul Labs and the public

substantial injury in this District and nationwide.


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                                         BACKGROUND

                        Juul Labs’ Innovative and Well-Known Designs

       17.     Juul Labs was founded in 2007. Its mission is to improve the lives of the world’s

one billion adult smokers by eliminating combustible cigarettes. To that end, Juul Labs

revolutionized the e-cigarette space by developing the innovative and award winning Juul

System, made up of the Juul Device and JUULPods:




                           Juul Device, JUULPods, and USB Charger

       18.     The Juul System is a combination of several Juul products: (i) the Juul Device

itself, and (ii) a disposable JUULPod that comes prefilled with an “e-liquid” that is a proprietary

mixture of vaporizer carriers, nicotine salt extracts, and flavoring. When a user inserts a

JUULPod into the Juul Device and inhales through the mouthpiece, the device rapidly heats the

e-liquid in the pod, aerosolizing it to allow the user to inhale a “puff” of the vaporized e-liquid.




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       19.     In 2018, FDA Commissioner Scott Gottlieb said that “[w]hile it’s the addiction to

nicotine that keeps people smoking, it’s primarily the combustion, which releases thousands of

harmful constituents into the body at dangerous levels, that kills people,” and so “new

innovations that don’t use combustion, like the electronic cigarettes, offer an important

opportunity for adults to transition off combustible tobacco.” Exhibit 1. Because the Juul

System allows users to obtain nicotine through a vapor rather than through inhaling smoke from

a traditional combustible cigarette, Juul Labs believes that the Juul System can have a positive

impact on smokers wanting to switch away from traditional tobacco products.

       20.     Juul Labs has invested millions of dollars to develop, design, and introduce its

innovative and celebrated products. The Juul System has been a resounding success, reaching

76% of the overall pod-based e-cigarette market as reported by third-party analysts in the United

States at the end of 2018. And its broad adoption has led to numerous testimonials from adult

smokers who attest that their lives have improved after switching away from traditional

combustible tobacco products to the Juul System. A recent study showed, for example, that of

9,272 adults who used a Juul Device for three months, 47% (4,367) reported at the end of the

assessment that they had not smoked cigarettes at all in the prior 30 days, and among the

participants still smoking cigarettes three months after initiating with the Juul Device, their




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cigarette consumption had declined 51.7%.1 The Juul Device’s success has also corresponded

with an overall decline in cigarette use among adults. For example, the Centers for Disease

Control and Prevention reported a decrease in cigarette use among adults from 20.9% in 2005 to

14.0% in 2017.2

       21.     From the time of its release in April 2015, the Juul Device and JUULPods have

been praised for their simple, unique, and sophisticated designs. When the products were first

announced, for example, Wired.com ran an article titled “This Might Just Be the First Great E-

Cig” and praised the company for using its “strong design savvy” to create a “beautiful” device.

Exhibit 2. The article recognized how different the Juul Device was from the current offerings

in the e-cigarette marketplace, noting that earlier products came “in one of two packages,” being

“either small and round, designed to look and feel as much as possible like a cigarette, or they’re

huge, assembled from many parts, and spectacularly complicated. Even the best of them look

like you’re smoking from an oboe.” The Juul Device, however, was “nothing like that.”

       22.     Industry website Vaping360.com likewise has praised the products, ranking the

Juul System first in its 2017 and 2018 Best E-Cigarettes buyers guides and noting that “[b]y




       1
           Neil McKeganey Ph.D., Christopher Russell Ph.D., Farhana Haseen Ph.D., Vaping and
the Number of Cigarettes Not Now Smoked: An Additional Means of Assessing the Public Health
Impact of E-cigarettes, JOURNAL OF PULMONARY AND RESPIRATORY MEDICINE (Feb. 18, 2019),
available at https://www.gavinpublishers.com/articles/Research-Article/Pulmonary-and-
Respiratory-Medicine-Open-Access/vaping-and-the-number-of-cigarettes-not-now-smoked-an-
additional-means-of-assessing-the-public-health-impact-of-e-cigarettes.
       2
          See Current Cigarette Smoking Among Adults in the United States, CENTERS FOR
DISEASE CONTROL AND PREVENTION, available at https://www.cdc.gov/tobacco/data_statistics/
fact_sheets/adult_data/cig_smoking/index.htm.


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combining quality technology into a modern design with consistent performance, the JUUL was

destined for greatness.”3

        23.     Juul Labs’ innovative system, unique designs, and proprietary e-liquid

formulations provide a highly-satisfactory user experience. The experience is reinforced when

adult customers experience Juul Labs’ excellent customer service. All in all, Juul Labs’ products

and services have created significant brand loyalty.

                                     Juul Labs’ Design Patents

        24.     Juul Labs has protected its innovative designs through design patents, which

cover the unique and novel ornamental appearance of each of Juul Labs’ products. Juul Labs

owns all right, title, and interest in and to each of the asserted design patents.

        25.     The D825,102 (“D’102”) patent was issued by the United States Patent and

Trademark Office (“PTO”) on August 7, 2018 and is titled “Vaporizer Device with Cartridge.”

The D’102 patent claims “[t]he ornamental design for a vaporizer device with cartridge, as

shown and described,” and includes four embodiments. A true and correct copy of the D’102

patent is attached as Exhibit 7. Figure 1.1 of the patent shows a perspective view of one

embodiment of the claimed design:




        3
           See Best E-Cigarettes, VAPING360 (July 20, 2018), https://vaping360.com/best-
vapestarter-kits/e-cigarettes/; JUUL Review: See Why It’s the Most Popular Vape, VAPING360
(July 20, 2018), https://vaping360.com/juul/juul-vapor-review/.


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       26.     The D842,536 (“D’536”) patent was issued by the PTO on March 5, 2019 and is

titled “Vaporizer Cartridge.” The D’536 patent claims “[t]he ornamental design for a vaporizer

cartridge as shown and described,” and includes four embodiments. A true and correct copy of

the D’536 is attached as Exhibit 8. Figure 1.2 of the patent shows a perspective view of one

embodiment of the claimed design:




       27.     The D744,419 (“D’419”) patent was issued by the PTO on December 1, 2015,

and is titled “Charging Device for Electronic Vaporization Device.” The D’419 patent claims

“[t]he ornamental design for a charging device for electronic vaporization device, as shown and

described.” A true and correct copy of the D’419 is attached as Exhibit 9. Figure 1 of the patent

shows a perspective view of the claimed design:




       28.     These design patents together cover the unique and ornamental appearances of

Juul Labs’ products.

                            Juul Labs’ Cooperation with the FDA

       29.     In September 2018, the FDA publicly highlighted its concerns about what it

called an “epidemic of nicotine use among teenagers.” The FDA asked Juul Labs and other e-

cigarette manufacturers to provide action plans detailing steps they would take to address youth


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use of their products. Juul Labs, which already had been in communication and working with

the FDA on these and other issues, immediately responded, indicating that it would work

alongside the FDA toward that goal and began taking additional and more aggressive measures

through Juul Labs’ Youth Action Plan, which it had already implemented in April 2018. Exhibit

3.

       30.     Juul Labs’ products are intended only for adult consumers of legal purchasing

age, and Juul Labs has worked diligently in cooperation with the FDA to prevent sales to, and

use by, minors. See, e.g., Exhibit 4 (FDA Oct. 31, 2018 Press Release commending Juul Labs’

leadership for cooperative dialogue with FDA). In addition, Juul Labs supports 21+ nationwide

age requirements for purchasing tobacco products. See Exhibit 3.

       31.     In November 2018, to further respond to FDA concerns, Juul Labs also

voluntarily stopped distributing certain flavors of JUULPods to retail stores. As such, Juul Labs

would only distribute Virginia Tobacco, Classic Tobacco, Menthol, and Mint flavored

JUULPods to retail stores. Juul Labs’ other flavors, Cucumber, Creme, Fruit, and Mango, can

still be purchased but only by adults 21 and over from the Juul.com website, which utilizes

industry-leading age verification protocols.

                     Defendants’ Rampant Infringement and Misconduct

       32.     While Juul Labs has been and remains committed to working with the FDA to

address the problem of youth e-cigarette use, Defendants have done the opposite, brazenly

selling millions of illegal e-cigarette cartridges with obviously kid-friendly flavor names like

Sour Gummy and Peach Madness with packaging attractive to underage users. And by design,

Defendants do this with knock-off products that copy Juul Labs’ patented designs.




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       33.     None of Defendants’ products are authorized by Juul Labs. And none of them are

approved by the FDA for sale; instead, the Defendants are forbidden by FDA regulations from

selling any of their new products without first obtaining FDA approval. See, e.g., Exhibits 5

and 6 (Oct. 12, 2018 letters from FDA to Eonsmoke and ZLab).

       34.     Defendants do not care. They have instead acted with impunity, selling numerous

infringing and illegal products in retail stores across the country and online:




                                   Images from Eonsmoke.com




                                    Images from ZiipLab.com

       35.     Defendants’ illegal products are rapidly proliferating through physical retail stores

in New Jersey and throughout the United States. Below, for example, are images from an EZ



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Market convenience store on University Avenue in Newark where Eonsmoke’s infringing, fruit-

flavored offerings now outnumber legitimate tobacco- and menthol-flavored JUULPods 3 to 1:




                 JUULPods                           Eonsmoke Pods (top and bottom-left)


       36.     An image from the convenience store at an Exxon in Freehold, New Jersey

additionally shows that Eonsmoke’s illegal, infringing cartridges are marked Juul Compatible

and offered for sale side-by-side with JuulPods:




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                         Exxon Molly Pitcher in Freehold, New Jersey

       37.     Defendants’ infringing cartridge products include at least Eonsmoke Pods, ZPods,

Airbender Pods, PlusPods, and 4X Pods.4 Many of them are offered at nicotine levels up to 6%

and 7%, where JUULPods are sold at 3% and 5% (with 5% being equivalent to a pack of

traditional cigarettes). There are also no apparent safety or quality guarantees as to the contents

of the e-liquid inside these infringing products, which have an unknown composition and

unknown manufacturing sources.

       38.     Defendants market their infringing pods using kid-friendly flavor names in

advertisements that often surround the products with images of fruit and dessert:




       4
           Eonsmoke products are also part of an International Trade Commission investigation
initiated by Juul Labs. In the Matter of Certain Electronic Nicotine Delivery Systems and
Components Thereof, Inv. No. 337-TA-1139, USITC Pub. 3346 (Dec. 10, 2018) (Instituted;
alleging infringement of Juul Labs utility patents by importers of knock-off systems). Eonsmoke
is an unregulated entity.


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                                  Sample Eonsmoke Marketing

       39.     Eonsmoke does the same with the 4X Pod brand that it sells, prominently using

products that infringe Juul Labs’ protected designs to entice customers to buy cartridges such as

the “4X Sour Gummy Juul Compatible 6.5% Salt Nic Pods” and the “4X Green Apple Juul

Compatible 6.8% Salt Nic Pods”:5




       5
         4X Pods are also at issue in this District in Juul Labs, Inc. v. 4X Pods, et al., No. 2:18-
cv-15444-KM-MAH.


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        40.     Eonsmoke also sells refillable 4X Pods that allow consumers to fill them with

whatever substance they want, for use with the Juul Device. Eonsmoke says “Why buy a

different system, [j]ust fill the pod with your favorite salt nic, cap it and put it into [the Juul

Device].”6




        6
          See 4X Empty Pod Juul Compatible for Salt Nic, EONSMOKE, available at
https://www.eonsmoke.com/home/506-4x-blue-blackberry-juul-compatible-65-salt-nic-
pods.html.


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       41.     Eonsmoke also appears to be running an online campaign on Reddit where it is

actively sowing consumer confusion regarding the affiliation of its pods with Juul Labs products.

An Eonsmoke-affiliated user on Reddit named “Eonjuulcompatiblepod” has the following

biography “Eonsmoke.com is the 2nd largest pod company in the USA and top 5 in Salt Nicotine

Bottled eLiquid. Our pods are Juul compatible so you don’t have to buy another device. 7

flavors including blueberry, watermelon and strawberry.”7 This Eonsmoke representative

comments on Reddit threads such as “What flavors do you guys wanna see next from JUUL?”

with comments such as “We make watermelon. Step over to the dark side!”8

       42.     Eonsmoke also sells devices that copy the patented design of the Juul Device:




                                       Eonsmoke Devices




       7
          “Eonjuulcompatiblepod” user profile, REDDIT, available at https://www.reddit.com/
user/Eonjuulcompatiblepod.
       8
          “What flavors do you guys wanna see next from JUUL?” REDDIT, available at
https://www.reddit.com/r/juul/comments/8kpdun/what_flavors_do_you_guys_wanna_see_
next_from_juul/; see also “Are there any other devices that fit juul pods?” REDDIT, available at
https://www.reddit.com/r/juul/comments/8k5wfa/are_there_any_other_devices_that_fit_
juul_pods/ (same user commenting “Our pods are compatible with the juul device and our
devices are compatible with juul pods and we just lowered the retail to 20$ online after
coupon.”)


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       43.     Ziip is also associated with Eonsmoke products. For example, on the back of

Eonsmoke Pod packages, it says that the products are “Designed by ZLab S.A. Punta del Este –

Uruguay.”9

       44.     Ziip also manufactures and sells its own copycat products, including the ZDevice:




       9
           Ziip products are also part of investigations initiated by Juul Labs in the International
Trade Commission. See In the Matter of Certain Cartridges for Electronic Nicotine Delivery
Systems and Components Thereof, Inv. No. 337-TA-1141, USITC Pub. 3354 (Nov. 20, 2018)
(Instituted; alleging infringement of Juul Labs utility patents by importers of Juul compatible
pods); In the Matter of Certain Electronic Nicotine Delivery Systems and Components Thereof,
Inv. No. 337-TA-1139, USITC Pub. 3346 (Dec. 10, 2018) (Instituted; alleging infringement of
Juul Labs utility patents by importers of knock-off systems). The Ziip Defendants are
unregulated entities.


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       45.    Ziip also sells fruit-flavored ZPods advertised as being “for [the] Juul Device”:




       46.    On information and belief, the Ziip Defendants are also affiliated with the

Airbender brand. On social media devoted to Airbender, the Airbender pods are prominently

featured together with the ZDevice. (See Airbender, available at https://www.airbenderpods.

com; “Airbender Eliquid,” FACEBOOK, available at https://www.facebook.com/airbendereliquid/;

Airbendereliquid, INSTAGRAM, “Airbender Z pods            ,”available at https://www.instagram.

com/p/BfZ4aDgH0D1.)




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       47.     In another post on Instagram, the ZDevice is displayed with Airbender pods and

surrounded by fruit, with the following caption: “Paladin pods for the juul and ziip devices.

Who’s tried them? Let us know how you like them!”10




       48.     It is no wonder that many people mistakenly associate Defendants’ infringing

products with Juul Labs. And such mistaken associations are responsible for the extremely

damaging misconception that youth usage of these unauthorized and infringing products is

condoned by Juul Labs, or that Juul Labs is responsible for it.

       49.     Defendants are also selling these products through their websites, which have no

meaningful age verification barriers at all. Eonsmoke’s website, for instance, encourages users

to click a green button saying that they are over 18 years old. Even in states such as New Jersey

or California, where the legal age is 21, the message is no different and prompts users to confirm

that they are over 18. Indeed, New Jersey is one of the pioneer states in the 21+ movement, yet

Eonsmoke makes no effort to protect New Jersey’s underage consumers. See STATE System

Tobacco 21 Fact Sheet, CENTERS FOR DISEASE CONTROL AND PREVENTION (Sept. 30, 2018),

       10
           Airbendereliquid, INSTAGRAM, “Paladin pods for the juul and ziip devices. Who’s
tried them? Let us know how you like them!” available at https://www.instagram.com/p/BiPBF
phjhRV/.


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available at https://chronicdata.cdc.gov/download/873a-if74/application%2Fpdf (listing New

Jersey as among just 5 states that have a minimum legal age of 21 for buying cigarettes and e-

cigarettes); see also Exhibit 3 (Juul Labs’ Youth Prevention Initiative). In addition to the

deficient notice when the site first appears, there is no age verification when the user actually

attempts the purchase on Eonsmoke’s website.




       50.     Similarly, Ziip’s website, while ostensibly asking if the user is over 21 when it

first loads, does not attempt any actual age verification when the user attempts to purchase a

product.

       51.     Defendants are also selling their infringing and unauthorized products through

partner retail stores throughout the country. In New Jersey alone, Eonsmoke advertises and

identifies the following retail locations on its website where consumers can purchase Eonsmoke

products:




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       52.     Further, unlike Juul Labs, which has disclosed the ingredients of its JUULPod to

the FDA, Defendants are selling products that have never been approved by the FDA or deemed

appropriate for sale. According to the FDA’s deeming date rule, any new tobacco-related

products (including e-cigarette products) that were not for sale in the United States prior to

August 8, 2016 cannot be sold before the ingredients are submitted to the FDA for approval 90

days before marketing. See 21 U.S.C. § 387j; see also Extension of Certain Tobacco Product

Compliance Deadlines Related to the Final Deeming Rule (Revised), U.S. DEP’T OF HEALTH &

HUM. SERVS., FDA (Nov. 2018), available at https://www.fda.gov/downloads/TobaccoProducts/

Labeling/RulesRegulationsGuidance/UCM557716.pdf. None of Defendants’ products were sold

prior to the deeming date, and none have complied with the FDA’s new regulations. See

Exhibits 5 and 6 (Oct. 12, 2018 letters from FDA to Eonsmoke and ZLab).

       53.     The risk of harm caused by Defendants’ kid-targeted products is acute. In an

independent study commissioned by Juul Labs, the Centre for Substance Use Research asked

almost 10,000 teenage respondents to identify the first flavor they ever tried in a Juul Device. Of

the self-reported users, 54.0% reported having initiated use of a Juul Device with a pod flavor


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not manufactured by Juul Labs, whereas 31.2% reported a pod flavor manufactured by Juul

Labs. A quarter of the first-time flavors identified by the adolescents matched products sold by

Ziip. Even more troubling, of the respondents who had used a Juul Device in the past 30 days,

69% identified having used a flavor that the researchers could match back to Ziip.

       54.     The study also tested the level of interest that youth had in various flavors of

pods, including both legitimate JUULPod flavors and flavors Juul Labs has never made. The top

flavors were Cotton Candy, Strawberry, and Gummy Bear, none of which are JUULPod flavors.

       55.     In short, Defendants are misusing Juul Labs’ designs and goodwill to put nicotine

products into the hands of youth. And this is all being done in a way that causes the widespread

misconception that Juul Labs is selling or is otherwise affiliated with Defendants’ products. In a

February 11, 2019 interview, the Centers for Disease Control and Prevention (“CDC”) indicated

that they were working with the FDA to update the National Youth Tobacco Survey to include

references to the Juul brand in order to “capture Juul use among kids.” (https://www.cdc.gov/

media/releases/2019/t0211-tobacco-youth-rising.html.) If Defendants continue to sell illegal

“Juul compatible” pods, there is a very real risk that researchers and respondents involved in the

CDC’s survey efforts will mistakenly attribute Defendants’ products to Juul Labs, giving the

false impression that Juul Labs is selling products to youth when in fact it is not. It already may

be happening. To the extent the FDA relies on any such inaccurate data to promulgate new

regulations or prohibitions on Juul Labs’ products, the result could be catastrophic to Juul Labs’

business, as well as to adult consumers’ access to Juul Labs’ products.

       56.     Defendants’ products also threaten harm to Juul Labs’ brand due to their inferior

quality. Consumers are likely to attribute the poor quality to Juul Labs. Indeed, for many of

Defendants’ products, users have already noted various quality, and even safety, problems:




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     4X Pods

              “Brand new 4X Pods - mold all over the connections” … “Careful, inhaling
               mold spores can be really dangerous especially with direct contact like that.
               Might want to get checked out.” See “Brand new 4X Pods - mold all over the
               connections,” REDDIT, available at https://www.reddit.com/r/juul/comments/
               ai07vt/brand_new_4x_pods_mold_all_over_the_connections/. (emphasis
               added here and in following cites).

              “Taste like chemicals and leak so bad! The 6.5 got me excited too but they
               are horrible.” See “What are all of your thoughts on the brand 4x Pods?”
               REDDIT, available at https://www.reddit.com/r/juul/comments/9dxcpy/
               what_are_all_of_your_thoughts_on_the_brand_4x_pods/.

              “This is second pack of 4X that I have bought, both at different stores, and
               they’ve all been leaking like hell.”… “Mine always leak! A lot of times
               they’ll burn out halfway through as well.” … “I hate the 4x pods. They all
               taste the same and burn up real bad.” … “But bought a pack of 4x Blue
               Raspberry and they made it ‘difficult’ to breathe for a minute or so after a
               hit.” See “4X pods,” REDDIT, available at https://www.reddit.com/r/juul/
               comments/a1igun/4x_pods/.

     Airbender Pods

              “My local vape shop has AirBender Z-pods. ... The juice itself is great, but the
               pods are trash. Every hit you have to pull the pod out and you will notice air
               bubbles float out of the coil, if you don’t you’ll get a dry hit. The pods leak
               like mad after the first hit and eventually will not fire when you hit your juul.
               The only the way to get them to work again is to hit the juul very hard. Which
               causes and shit ton of splash back. I have refilled the Z-pods in hopes they
               would work better, but no luck. Maybe I happened to get a bad batch, who
               knows. So far 3/4 pods are no good. Shoud have just bought juul brand
               pods.” See “AirBender Z-Pods,” REDDIT, available at https://www.reddit.com
               /r/juul/comments/96tlie/airbender_zpods/.

              “I tried every Airbender pod and can honestly say...They’re terrible. Waste
               of money. Constantly burn. Trust me, we are all better off with sticking to
               regular Juul pods. Don’t waste money like I did.” See “I tried every
               Airbender pod and can honestly say...” REDDIT, available at https://www.
               reddit.com/r/juul/comments/8bccpk/i_tried_every_airbender_pod_and_
               can_honestly_say/.

     Eonsmoke Device

              “Hey everyone thought I would speak my mind after owning the ‘juul
               device’ that eon smoke sells aka the maker of eon pods. First of all let’s start
               it off by saying I do not recommend it to anybody. In my own terms I would


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                   put the ‘juul exchange’ (send your own juul in and they give you one of their
                   devices) as a blind money grab. Shipping took ages, support is minimal and
                   there’s more behind the device that you don’t know. The eon device is
                   cheap, badly manufactured and there’s a large amount of pod problems.”
                   See “Eon smoke ‘juul device,’” REDDIT, available at https://www.reddit.com/
                   r/juul/comments/9a16dv/eon_smoke_juul_device/.

       Eonsmoke Pods

                  “From my personal experience. I’ve had a lot of leaking pods from eon . …
                   Btw idk if it’s just me but they don’t last at all. Like a regular juul pod lasts
                   me two days and eon last me a day.” See “Eonsmoke pods - are they worth
                   it?” REDDIT, available at https://www.reddit.com/r/juul/comments/a4b0o0/
                   eonsmoke_pods_are_they_worth_it/.

                  “Well i ordered some fresh watermelon and blueberry pods and all 8 are
                   leaking to all hell. I pulled one out and took 3 rips, and when i pulled it out of
                   my juul it was half empty. Safe to say eon pods are 100% abject garbage
                   and they dont deserve your money.” See “HEY EONSMOKE DUDE
                   YOU'RE PODS ARNET FIXED THEY LEAK TO ALL HELL,” REDDIT,
                   available at https://www.reddit.com/r/juul/comments/8akrik/hey_eonsmoke_
                   dude_youre_pods_arnet_fixed_they/.

       PlusPods

                  “[T]they leak a lot and the liquid seems to go buy really fast. you also
                   sometimes get burnt hits which are nasty af” See “Has anyone tried plus
                   pods?” REDDIT, available at https://www.reddit.com/r/juul/comments/at4iay/
                   has_anyone_tried_plus_pods/?ref=readnext.

       ZPods

                  “I’m wondering if I got a bad batch or if they changed the formula. The juice
                   in the pod is usually clear, but both 4-packs I bought yesterday are sort of a
                   yellowish color. Plus they do not taste good at all anymore. Fresh out of the
                   package they just taste....weird. More like menthol than mint, with an
                   unpleasant aftertaste.” See “Ziip pods question,” REDDIT, available at
                   https://www.reddit.com/r/juul/comments/90ineq/ziip_pods_question/.

       57.     Defendants’ infringement of JuulLabs’ design patents and their unfair competition

against Juul Labs is damaging and irreparably injuring Juul Labs, and, unless Defendants are

preliminarily and permanently enjoined, they will further damage and irreparably injure Juul

Labs and the goodwill and reputation it has built through its patented products.




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       58.     Moreover, Defendants’ misconduct has irreparably injured the public, and, unless

preliminarily and permanently enjoined, it will further irreparably injure the public, which has an

interest in keeping Defendants’ illegal products out of the hands of users — particularly youth —

as well as an interest in being free from deception, confusion, and mistake in the marketplace.

                         COUNT I.: Infringement of the D’102 Patent

       59.     Juul Labs repeats and re-alleges paragraphs 1-58 as if fully set forth herein.

       60.     Defendants have been, and presently are, infringing the D’102 patent within this

judicial district and elsewhere by using, making, selling, offering to sell, and/or importing into

the United States, the Eonsmoke Device and ZDevice in violation of 35 U.S.C. §§ 271 and 289.

       61.     Juul Labs is informed and believes, and on that basis alleges, that Defendants’

infringement of the D’102 patent has been and continues to be intentional, willful, and without

regard to Juul Labs’ rights.

       62.     Juul Labs is informed and believes, and on that basis alleges, that Defendants

have gained profits and received investments by virtue of their infringement of the D’102 patent.

       63.     Juul Labs has sustained damages as a direct and proximate result of Defendants’

infringement of the D’102 patent.

       64.     Juul Labs will suffer and is suffering irreparable harm from Defendants’

infringement of the D’102 patent. Juul Labs has no adequate remedy at law and is entitled to an

injunction against Defendants’ continuing infringement of the D’102 patent. Unless enjoined,

Defendants will continue their infringing conduct.

                         COUNT II.: Infringement of the D’536 Patent

       65.     Juul Labs repeats and re-alleges paragraphs 1-64 as if fully set forth herein.

       66.     Defendants have been, and presently are, infringing the D’536 patent within this

judicial district and elsewhere by using, making, selling, offering to sell, and/or importing into


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the United States, products identified in this Complaint in violation of 35 U.S.C. §§ 271 and 289.

Without limitation, this includes pods branded as Eonsmoke, ZLab, Airbender, PlusPods, and 4x.

       67.     Juul Labs is informed and believes, and on that basis alleges, that Defendants’

infringement of the D’536 patent has been and continues to be intentional, willful, and without

regard to Juul Labs’ rights.

       68.     Juul Labs is informed and believes, and on that basis alleges, that Defendants

have gained profits and received investments by virtue of their infringement of the D’536 patent.

       69.     Juul Labs has sustained damages as a direct and proximate result of Defendants’

infringement of the D’536 patent.

       70.     Juul Labs will suffer and is suffering irreparable harm from Defendants’

infringement of the D’536 patent. Juul Labs has no adequate remedy at law and is entitled to an

injunction against Defendants’ continuing infringement of the D’536 patent. Unless enjoined,

Defendants will continue their infringing conduct.

                         COUNT III.: Infringement of the D’419 Patent

       71.     Juul Labs repeats and re-alleges paragraphs 1-70 as if fully set forth herein.

       72.     Defendants have been, and presently are, infringing the D’102 patent within this

judicial district and elsewhere by using, making, selling, offering to sell, and/or importing into

the United States, the USB chargers for the Eonsmoke Device and ZDevice in violation of 35

U.S.C. §§ 271 and 289.

       73.     Juul Labs is informed and believes, and on that basis alleges, that Defendants’

infringement of the D’102 patent has been and continues to be intentional, willful, and without

regard to Juul Labs’ rights.

       74.     Juul Labs is informed and believes, and on that basis alleges, that Defendants

have gained profits and received investments by virtue of their infringement of the D’102 patent.


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        75.     Juul Labs has sustained damages as a direct and proximate result of Defendants’

infringement of the D’102 patent.

        76.     Juul Labs will suffer and is suffering irreparable harm from Defendants’

infringement of the D’102 patent. Juul Labs has no adequate remedy at law and is entitled to an

injunction against Defendants’ continuing infringement of the D’102 patent. Unless enjoined,

Defendants will continue their infringing conduct.

                        COUNT IV.: Common Law Unfair Competition

        77.     Juul repeats and re-alleges paragraphs 1-76 as if fully set forth herein.

        78.     Defendants are selling products in direct competition with Juul Labs that

misappropriate Juul Labs’ patented designs and trade off of Juul Labs’ goodwill without

authorization. Juul Labs is therefore being unfairly forced to compete against its own designs in

the marketplace.

        79.     Defendants are also selling nicotine products that have not been approved by the

FDA and which are thereby prohibited and illegal for Defendants to sell. Defendants’ products

also appear to lack necessary quality controls, raise safety issues, and create negative public

perception about health and safety that are being wrongly and mistakenly attributed to Juul Labs.

        80.     Defendants’ unscrupulous, unauthorized, and unlawful actions constitute common

law unfair competition.

        81.     Juul Labs is informed and believes, and on that basis alleges, that Defendants

have made profits and gains, and received investments, by virtue of their unfair competition.

        82.     As a result of Defendants’ unauthorized and unlawful actions, the reputation of

Juul Labs has been, and continues to be, harmed. Juul Labs continues to suffer immediate and

irreparable injury as a result.




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       83.     Further, Juul has suffered damages, including, but not limited to, loss of sales and

damage to its existing and potential business relationships.

       84.     Juul Labs has no adequate remedy at law, and if Defendants’ unfair competition is

not enjoined, Juul will continue to suffer irreparable harm to the name, reputation, and goodwill

of the Juul brand.

         COUNT V.: Tortious Interference with Prospective Economic Advantage

       85.     Juul Labs repeats and re-alleges paragraphs 1-84 as if fully set forth herein.

       86.     Defendants’ actions have disrupted or are intended to disrupt Juul Labs’ business

by, among other things, diverting consumers away from Juul Labs’ products and to Defendants’

infringing products, through using designs identical and/or confusingly similar to Juul Labs’

protected designs.

       87.     In doing so, Defendants have gained access to Juul Labs’ customers, as to which

Juul Labs had a reasonable expectation of economic benefit. Juul Labs has lost sales because of

Defendants’ sales of the accused products.

       88.     Defendants knew or should have known about Juul Labs’ expected economic

benefit. Defendants have no legal right, privilege or justification for their conduct. Absent

Defendants’ wrongful and deceptive conduct, Juul Labs would have made sales that Defendants

have made instead.

       89.     Based on the intentional, willful, and malicious nature of Defendants’ actions,

Juul Labs is entitled to recover monetary damages, exemplary or punitive damages, and

reasonable attorneys’ fees and costs incurred in connection with this action.

       90.     Juul Labs has no adequate remedy at law, and if Defendants’ intentional

interference with Juul Labs’ prospective economic advantage is not enjoined, Juul Labs will




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continue to suffer monetary damages and irreparable injury to the name, reputation, and goodwill

of the Juul brand.

                                COUNT VI.: Unjust Enrichment

        91.    Juul repeats and re-alleges paragraphs 1-90 as if fully set forth herein.

        92.    As a result of the conduct alleged herein, Defendants have been unjustly enriched

to Juul Labs’ detriment. Juul Labs seeks a worldwide accounting and disgorgement of all ill-

gotten gains and profits, including received investments, resulting from Defendants’ inequitable

activities.

                         COUNT VII.: Fraudulent Misrepresentation

        93.    Juul repeats and re-alleges paragraphs 1-92 as if fully set forth herein.

        94.    Defendants, jointly and severally, and without Plaintiff’s consent and

authorization, knowingly, intentionally, and falsely misrepresented to the public that they and

their products were affiliated, sponsored, or otherwise endorsed by Juul Labs, and made further

misrepresentations about the use and performance of Juul Labs’ products.

        95.    The false and fraudulent misrepresentations of Defendants, all of which were

material, were undertaken with the knowledge and intent that unsuspecting consumers would be

deceived into believing and relying upon said misrepresentations, and that said representations

were authorized by Juul Labs.

        96.    Juul Labs has been injured in its business, property, and reputation and such

injury also is irreparable as a result of Defendants’ unlawful, fraudulent, and infringing actions as

alleged herein, which were intentional, malicious, and willful. Those members of the public who

have been deceived by Defendants’ misconduct may use Juul Labs’ products believing

Defendants’ misrepresentations, and thereby misuse Juul Labs’ products to their potential

detriment. For example, based on Defendants’ misrepresentations, consumers have, and likely


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will continue to, use Defendants’ pods in the Juul Device, or JUULPods in one of Defendants’

devices. Such use is not authorized by Juul Labs and has already led to safety and health risks.

This in turn negatively affects Juul Labs’ reputation and business. Such consequences to the

public and Juul Labs are immeasurable and incalculable.

       97.     Juul Labs has no adequate remedy at law, and if Defendants’ fraudulent

misrepresentations are not enjoined, Juul Labs will continue to suffer irreparable harm to the

name, reputation, and goodwill of the Juul brand.

                         COUNT VIII.: Negligent Misrepresentation

       98.     Juul Labs repeats and re-alleges paragraphs 1-97 as if fully set forth herein.

       99.     Defendants, jointly and severally, and without Plaintiff’s consent and

authorization, negligently misrepresented to the public that they and their products were

affiliated, sponsored, or otherwise endorsed by Juul Labs, and made further misrepresentations

about the use and performance of Juul Labs’ products.

       100.    Defendants have, at minimum, negligently held themselves out as having the right

to make representations about the use and performance of Juul Labs’ products, including in

combination with Defendants’ products. Defendants have negligently misrepresented Juul Labs’

position regarding the use and performance of Juul Labs’ products, which is that there are no

truly “Juul compatible” cartridges other than those manufactured by Juul Labs alone. An

unsuspecting consumer, directly relying on the misrepresentations, could misuse Juul Labs’

products causing injury to members of the public who were deceived into misusing the products.

       101.    Juul Labs has been injured in its business, property, and reputation as a result of

Defendants’ negligent misrepresentations.




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        102.    Juul Labs has no adequate remedy at law, and if Defendants’ negligent

misrepresentation is not enjoined, Juul will continue to suffer irreparable harm to the name,

reputation, and goodwill of the Juul brand.

                                     PRAYER FOR RELIEF

WHEREFORE, Juul Labs requests entry of judgment against Defendants as follows:

        A.      A judgment that Defendants have infringed each of the D’102, D’536, and D’419

patents;

        B.      A judgment that Defendants have engaged in unfair competition, fraudulent

misrepresentation, and negligent misrepresentation;

        C.      An order and judgment preliminarily and permanently enjoining Defendants and

their affiliates, officers, agents, servants, employees, attorneys, dealers, confederates, and all

those persons acting for, with, by, through, under, or in active concert with them from any further

acts of infringement of the D’102, D’536, and D’419 patents;

        D.      An order preliminarily and permanently enjoining Defendants and their officers,

agents, affiliates, employees, and attorneys, and all those persons acting or attempting to act in

concert or participation with them, from designing, making, transferring, importing, exporting,

selling, distributing, advertising, or marketing any tobacco- or nicotine-related products,

including devices or pods, without first providing sufficient proof to the Court that such products

have been approved by the FDA for sale in the United States (and this relief to include all online

activities as well);

        E.      Actual damages suffered by Juul Labs as a result of Defendants’ unlawful

conduct, in an amount to be proven at trial, as well as prejudgment interest as authorized by law;

        F.      Reasonable funds for future corrective advertising;

        G.      An accounting of Defendants’ profits pursuant to 35 U.S.C. § 289;


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       H.      An award of compensatory, consequential, statutory, special, and/or punitive

damages, including treble damages, to Juul Labs in an amount to be determined at trial;

       I.      Restitutionary relief against Defendants and in favor of Juul Labs, including

disgorgement of wrongfully obtained profits and any other appropriate relief;

       J.      Costs of suit and reasonable attorneys’ fees;

       K.      Finding of the case to be exceptional;

       L.      Any other remedy to which Juul Labs may be entitled, including all remedies

provided for in 35 U.SC. §§ 284, 285, and 289, and under any other law; and

       M.      Such other relief as the Court may deem just and proper.



                                             JURY DEMAND

       Plaintiff demands trial to a jury on all issues so triable.



Dated: March 12, 2019                                   Respectfully submitted,


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                        LOCAL CIVIL RULE 11.2 CERTIFICATION

       Pursuant to Local Civil Rule 11.2, the undersigned counsel hereby certifies that this

matter in controversy is the subject of the following other matters pending in this Court:

   1. Juul Labs, Inc. v. Eonsmoke, LLC, et al., Civil Action No. 18-14608, before the Hon.

       Jose L. Linares, U.S.D.J.,

   2. Juul Labs, Inc. v. King Distribution LLC, et al., Civil Action No. 18-9233, before the

       Hon. Susan D. Wigenton, U.S.D.J.,

   3. Juul Labs, Inc. v. HugeTrunk.com, et al., Civil Action No. 18-10281, before the Hon.

       Esther Salas, U.S.D.J.,

   4. Juul Labs, Inc. v. 4X Pods, et al., Civil Action No. 18-15444, before the Hon. Kevin

       McNulty, U.S.D.J., and

   5. Juul Labs, Inc. v. Juul Monster, et al., Civil Action No. 19-6399, before the Hon. Susan

       D. Wigenton, U.S.D.J.


Date: March 12, 2019                         Respectfully submitted,


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                       LOCAL CIVIL RULE 201.1 CERTIFICATION

       Under Local Civil Rule 201.1, the undersigned counsel for Plaintiff Juul Labs, Inc.

hereby certifies that it seeks both monetary damages greater than $150,000 and injunctive and

other equitable relief, and therefore this action is not appropriate for compulsory arbitration.


Date: March 12, 2019                          Respectfully submitted,

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